Case 3:18-cr-00228-TAD-KLH Document 49 Filed 05/26/20 Page 1 of 2 PagelD #: 163
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row a -_ WESTERN DISTRICT OF LOUISIANA
MONROE DIVISION
UNITED STATES OF AMERICA CASE NO. 3:18-CR-00228-01
VERSUS JUDGE TERRY A, DOUGHTY
ROBERT E. ROBINSON MAG. JUDGE KAREN L. HAYES
NOTICE OF APPEAL

28 U.S. Code § 2253.Appeal (c) (1) (B) (2)

To appeal the denial of a Certificate of Appealability [Doc. No. 45] by Terry Doughty,
United States District Judge on 05/13/2020 based on the court’s Ruling. [Doc. No. 43] The ruling
does not comply with Rule 5 (b) of the Rules Governing Section 2255 Proceedings for the

United States District Courts. “The answer must address the allegations in the motion.”

Being incarcerated at MCFP Springfield, I am is making a substantial showing of a
denial, an actual injury, of my constitutional right of liberty. This is caused by the operation and
effect of violating federai marijuana laws. ‘Therefore, I have standing to obtain a certificate of

appealability.

I am being deprived of my liberty, freedom from physical restraint, without due process
of law. Habeas relief is to determine the compelling reasons for the law that deprived me of my

liberty by government police power.

Dated: 4-1) ~ P20

ROBERT E, ROBINSON
# 20897-035

MCFP Springfield

P.O. Box 4000
Springfield, MO 65801

 
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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

MONROE DIVISION
UNITED STATES OF AMERICA CASE NO. 3:18-CR-00228-01
VERSUS JUDGE TERRY A. DOUGHTY
ROBERT E. ROBINSON MAG. JUDGE KAREN L. HAYES
CERTIFICATE OF SERVICE

I certify that I placed in the prison mailing system a copy of NOTICE OF APPEAL

addressed to

Cristina Walker

U. S. Attorney’s Office (SHV)
300 Fannin St Ste 3201
Shreveport, LA 71101-3068

Date:: £- LO- 2° LO

ROBERT E. ROBINSON
# 20897-035

MCEFP Springfield .

P.O. Box 4000
Springfield, MO 65801

 
